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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

USAMA JAMIL HAMAMA, et al.,

        Petitioners and Plaintiffs,
                                                      Case No. 2:17-cv-11910
v.                                                    Hon. Mark A. Goldsmith
                                                      Mag. David R. Grand
REBECCA ADDUCCI, et al.,                              Class Action

        Respondents and Defendants.



    STIPULATED ORDER LIFTING THE PRELIMINARY INJUNCTION
  (ECF 87) FOR SALAR OMAR KARIM ALSO KNOWN AS SALAR OMER
                           KARIM
        Undersigned counsel stipulate and agree that this Court issue and enter this

 Order lifting the stay of enforcement of removal for Salar Omar Karim also known

 as Salar Omer Karim, only.

 The bases for the order are as follows:

        1. As of November 15, 1998, Mr. Karim an Iraqi national, had an order of

 removal from the United States by the Immigration Court

        2. Since on or about, February 26, 2018, Mr. Karim has been detained by

 ICE.

        3. Mr. Karim has consulted with counsel about his prospects for immigration

 relief, his rights under the Preliminary Injunction in this case, and his prospects for
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 relief from detention. The declaration of K. Thomas Li, a lawyer who provided

 consultation on these matters, is attached as Exhibit A.

       4. Mr. Karim’s signed waiver, by which he seeks prompt removal to Iraq, is

 attached as Exhibit B.

       5. The parties believe that Mr. Karim’s waiver is knowing and voluntary,

 and provides an appropriate basis for this Court to lift the Preliminary Injunction as

 to him only.

       Therefore undersigned counsel stipulate and agree and the Court hereby

 orders the following:

       It is ORDERED that the stay of the enforcement of removal be lifted for

 Salar Omar Karim. Therefore, ICE may effectuate his order of removal.

 SO ORDERED.


 Dated: July 10, 2018                   s/Mark A. Goldsmith
 Detroit, Michigan                      MARK A. GOLDSMITH
                                        United States District Judge


                            CERTIFICATE OF SERVICE

 The undersigned certifies that the foregoing document was served upon counsel of
 record and any unrepresented parties via the Court's ECF System to their
 respective email or First Class U.S. mail addresses disclosed on the Notice of
 Electronic Filing on July 10, 2018.

                                        s/Karri Sandusky
                                        Case Manager
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 SO STIPULATED.
 Date: July 10, 2018
 /s/ Miriam J. Aukerman (with consent)    /s/ William C. Silvis (with consent)
 Miriam J. Aukerman (P63165)              William C. Silvis
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